         Case 3:21-cr-02989-GPC Document 47 Filed 06/24/22 PageID.281 Page 1 of 1
                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
                                                          Case No. 21-cr-2989-GPC

                                       Plaintiff,
                       vs.

Douglas Farrel Langholf,                                                      FILED
                                     Defendant.                               JUN 2 4 2022
                                                                        CLERK. U.S. DISTRICT COURT
                                                                     SOUTHERN DISTRICT OF CALIFORNIA
                                                                    BY            17s           DEPUTY


IT APPEARING that the defendant is now entitled to be discharged for the reason that:

       an indictment has been filed in another case against the defendant and the Court has
 •     granted the motion of the Government for dismissal of this case, without prejudice; or

 •     the Court has dismissed the case for unnecessary delay; or

 •     the Court has granted the motion of the Government for dismissal, without prejudice; or

 [X]   the Court has granted the motion of the defendant for dismissal; or

 •     a jury has been waived, and the Court has found the defendant not guilty; or

 •     the jury has returned its verdict, finding the defendant not guilty;

 [X]   of the offense( s) as charged in the Indictment:
       21:952;960 - Importation ofMethamphetamine




Dated:    6/24/2022                                       a~
                                                    Hon. Gonzalo P. Curiel
                                                    United States District Judge
